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D@'>`t'" C- Ha" O' C"‘m~"@" ATTORNEYS AT LAW WWW.seiferf|atoWlaW.com

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December 29, 2015

Sent via email: pmegaro@appealslawgroup.com
jhalscott@appealslawgroup.com

Mr. Patrick Megaro

Mr. Jamie T. Halscott.

Appeals Law Group

33 East Robinson Street, Suite 210

Orlando, Florida 32801

RE: Antonio Stukes v. DEBRA ANTNEY, individually and as Owner/Member/
Manager/CEO of Mizay Entertainment lnc.; Mizay Music Group LLC,' Be]()O
Alnerica, LLC,' Bel 00 Radio LLC,' Daganda Enterlainmenl' LLC,' Mizay Publishing
LLC,' and Mizay Management LLC,'

United States District Court; W.D.N.C. Civil Action No. 3:15-cv-176

Dear Counsel:

On October 22, 2015, you were served with Plainlijj"’s Firsl Set oflnterrogatories and
Requestfor Production of Documents InAid of Execulion T0 Defendant DebraAntney, Individually.
On November 30, 2015, you contacted my office to ask for a 30 day extension, which l allowed;
however, by my calculation, Defendant’s discovery responses were due by December 23, 2015.

To date, we have not received Defendant Antney’s responses. In the event that the responses
have already been placed in the mail, please accept my apologies. Otherwise, please advise as to
when we can expect to receive Ms. Antney’s discovery responses. lf l do not hear from you on or
before January 8, 2016, l will be filing a motion to compel, seeking appropriate sanctions

Thank you for your time and attention in this matter. Please contact my office with any
questions or concerns.

Sincerely,

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Mathew E. Flatow
mathew@seiferflatow.com

MEF/vgm

 

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